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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Xavier Maratre                                      Case No.:
8101 S. Houston
Chicago, IL 60617                                   Judge:

         Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                    UNDER THE FAIR DEBT COLLECTION
v.                                                     PRACTICES ACT AND OTHER
                                                           EQUITABLE RELIEF
Advanced Credit Recovery, Inc.
c/o National Registered Agents, Inc.                 JURY DEMAND ENDORSED HEREIN
200 West Adams St.
Chicago, IL 60606

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around April 16, 2009, Plaintiff retained an attorney to file bankruptcy.

8. In or around May 2009, Defendant telephoned Plaintiff on numerous occasions in an effort to

     collect the debt.




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9. During several of these communications, Plaintiff informed Defendant that Plaintiff had

   retained an attorney to file bankruptcy and provided his attorney’s contact information, but

   Defendant continued to call Plaintiff despite these repeated notices.

10. During one of these communications on or around May 4, 2009, Defendant spoke to Plaintiff

   in a harassing, oppressive, and/or abusive manner.

11. During this communication, Defendant called Plaintiff “stupid”.

12. During this communication, Defendant falsely represented that Plaintiff would be prosecuted

   for defrauding a financial institution if Plaintiff did not satisfy the debt.

13. During this communication, Defendant falsely represented that Defendant intended to contact

   the Schiller Park police department if Plaintiff did not satisfy the debt.

14. During one of these communications on or around May 12, 2009, Plaintiff again notified

   Defendant that that Plaintiff was represented by a bankruptcy attorney and attempted to

   provide Plaintiff’s attorney’s contact information but Defendant refused to take this

   information and abruptly hung up the telephone.

15. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

16. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

17. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

18. Defendant violated 15 U.S.C. §1692c in that it communicated with Plaintiff notwithstanding

   Plaintiff’s notice that Plaintiff was represented by an attorney.




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                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

19. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

20. Defendant violated 15 U.S.C. §1692d in that Defendant used abusive language during its

   communications in connection with the collection of the debt.

                                         COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

21. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

22. Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,

   and/or legal status of the debt.

                                          COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

23. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

24. Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be

   taken and/or that was not intended to be taken.

                                           COUNT FIVE

                       Violation of the Fair Debt Collection Practices Act

25. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

26. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

   communications with Plaintiff.

                                            COUNT SIX

                       Violation of the Fair Debt Collection Practices Act

27. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.




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28. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                          JURY DEMAND

29. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

30. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

                                                By: s/Timothy J. Sostrin
                                                   Timothy J. Sostrin
                                                   Bar ID # 6290807
                                                   233 S. Wacker
                                                   Sears Tower, Suite 5150
                                                   Chicago, IL 60606
                                                   Telephone: 866-339-1156
                                                   Email: tjs@legalhelpers.com
                                                   Attorneys for Plaintiff




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